Case 1:16-cv-07789-PAE Document 18

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

SAMUEL B. TRICKEY,
Plaintiff,

Vv.

EMIL J. BROLICK, JANET HILL,
JOSEPH A. LEVATO, MICHELLE J.
MATHEWS-SPRADLIN, PETER W.
MAY, MATTHEW PELTZ, NELSON

PELTZ, TODD A. PENEGOR, PETER H.

ROTHSCHILD, and ARTHUR B.
WINKLEBLACK.

Defendants,

-and-

THE WENDY’S COMPANY,

Nominal Defendant

Filed 01/10/17 + Page 1 of 21

Civil Action No. 16-CV-7789
(PAE)

VERIFIED AMENDED SHAREHOLDER DERIVATIVE COMPLAINT

Plaintiff Samuel B. Trickey (“Plaintiff”), by his undersigned counsel, alleges

upon information and belief, except for his own acts, which allegations are based

upon personal knowledge, as follows:

NATURE OF THE ACTION

1. Plaintiff brings this action derivatively on behalf of nominal defendant

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The Wendy’s Company (“Wendy’s

resulting from breaches of fiduciary duties by the Company’s Board of Directors

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or the “Company”?) for harm to the Company
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(the “Board”) related to Wendy’s failure to join the Fair Food Program (the “FFP”)
that its competitors have long since joined.'

2. As set forth in detail below, the FFP works with food retailers to
effect wage increases and ensure humane working conditions for the workers who
pick fruits and vegetables on participating farms.

3. The success of the FFP is due in large part to the widespread
participation of major food retailers including McDonalds, Burger King, Subway,
Chipotle Mexican Grill, Yum! Brands, Inc. (Yum! Brands owns the restaurant
brands KFC, Pizza Hut, and Taco Bell), and grocery stores such as Walmart,
Trader Joe’s, Whole Foods Market, Fresh Market, and Ahold USA (owner of Giant
Food Stores, Stop & Shop, and Martin’s).’ Despite participation by all its major
competitors and minimal cost to the Company to join the FFP, Wendy’s has
refused to join in the effort—the last major fast food chain to do so. Wendy’s is
thus flouting what has become a de facto industry norm. The need for the FFP

emerged as the result of farm labor exploitation and cases of slavery in Florida’s

' Fair Food Program, Participating Buyers, http://www. fairfoodprogram.org/partners/ (last

accessed Jan. 5, 2017).

> Yum! Brands, Inc., Building Three Global, Iconic Brands People Trust and Champion,
http://www.yum.com/company/ (last accessed Jan. 5, 2017).

3 See EN 1.

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tomato fields.’ Farm workers were subject to physical abuse, involuntary
confinement, abductions, debt bondage, and starvation wages.”

4. By joining the FFP, food retailers agree to pay a small price premium
on the fresh market produce they purchase and to require their farm suppliers to
implement a human-rights-based Code of Conduct. These efforts have been
tremendously successful, resulting in humane working conditions and significant
wage increases for farmworkers.°

5. Asa direct result of Wendy’s failure to join the FFP, the Company’s
goodwill and reputation have declined, causing the Company to become the

subject of boycotts and protests across the country,’

* Holly Burkhalter, Fair Food Program Helps End the Use of Slavery in the Tomato Fields,
Wash, Post, Sept. 2, 2012, available at https://www.washingtonpost.com/opinions/fair-food-
program-helps-end-the-use-of-slavery-in-the-tomato-fields/2012/09/02/788flala-f39c-1lel-
892d-bc92fee603a7_story.htm!l?utm_term=.d40c11715100 (last accessed Jan. 5, 2017).

Id

© In 2015, the Coalition of Immokalee Workers was awarded the Presidential Medal for
Extraordinary Efforts in Combatting Modern-Day Slavery in recognition of the resounding
success of its Fair Food Program, Additionally, the Fair Food Program has been touted as “‘the
best workplace-monitoring program” in the US in the New York Times, and “one of the great
human rights success stories of our day” in the Washington Post, See Steven Greenhouse, Jn
Florida Tomato Fields, a Penny Buys Progress, N.Y. Times, April 24, 2014, available at
http://www.nytimes.com/2014/04/25/business/in-florida-tomato-fields-a-penny-buys-
progress.html? r=3 (last accessed Jan. 5, 2017); and FN4 supra.

’ For example, both the Presbyterian Church (U.S.A.) and the United Church of Christ,
representing millions of followers, have endorsed the national Wendy's boycott. See
http://www.ciw-online,org/blog/2016/05/ucc-endorses-boycott/ (last accessed Jan. 5, 2017),

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6. This loss of goodwill has caused substantial harm to the Company’s
economic performance and irreparably damaged the Company’s reputation in the
business community.

7. For these reasons, Plaintiff hereby brings this shareholder derivative
action on Wendy’s behalf, and the action should be allowed to proceed.

PARTIES

8. Plaintiff is and has been, at all relevant times, the owner of shares of
Wendy’s common stock. Plaintiff is a citizen of Florida.

9. Nominal Defendant Wendy’s is a publicly-held corporation organized
and existing under the laws of the State of Delaware. The Company maintains its
principle executive offices at One Dave Thomas Boulevard, Dublin, Ohio 43017.
Wendy’s is a quick-service hamburger company with over 6,500 restaurants across
the United States and other countries,

10. Defendant Todd A. Penegor (“Penegor’’) has been President and Chief
Executive Officer (“CEO”) of Wendy’s since May 2016. Penegor previously
served as Executive Vice President and Chief Financial Officer (“CFO”) from
September 2013 to May 2016. Upon information and belief, Penegor is a citizen of
Ohio.

11. Defendant Emil J. Brolick (“Brolick”) has been a member of the

Board since September 2011. Brolick served as the Company’s CEO from

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September 2011 to May 2016. Upon information and belief, Brolick is a citizen of
Ohio,

12. Defendant Janet Hill (“Hill”) has been a member of the Board since
September 2008. Upon information and belief, Hill is a citizen of Washington,
DC.

13. Defendant Joseph A. Levato (“Levato”) has been a member of the
Board since June 1996. Levato served as the Company’s executive Vice President
and CFO from April 1993 to August 1996. Upon information and belief, Levato is
a citizen of New Jersey.

14. Defendant Michelle J. Mathews-Spradlin (“Mathews-Spradlin”) has
been a member of the Board since February 2015. Upon information and belief,
Mathews-Spradlin is a citizen of California.

15. Defendant Peter W. May (“May”) has been a member of the Board
since April 1993 and has served as the Company’s executive Vice Chairman since
June 2007. May served as the Company’s President and CEO from April 1993 to
June 2007, Upon information and belief, May is a citizen of New York.

16. Defendant Matthew Peltz has been a member of the Board since
December 2015. Mr. Peltz is the son of Defendant Nelson Peltz, who is also a
member of the Board. Upon information and belief, Matthew Peltz is a citizen of

New York.

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17. Defendant Nelson Peltz has been a member of the Board since April
1993 and has served as the Company’s non-executive Chairman since June 2007.
Mr. Peltz served as the Company’s Chairman and CEO from April 1993 to June
2007. Mr. Peltz is the father of Matthew Peltz, who is also a member of the Board.
Upon information and belief, Nelson Peltz is a citizen of New York.

18. Defendant Peter H. Rothschild (“Rothschild”) has been a member of
the Board since May 2010. Upon information and belief, Rothschild is a citizen of
New York,

19. Defendant Arthur B. Winkleblack (“Winkleblack”) has been a
member of the Board since May 2016. Upon information and belief, Winkleblack
is a citizen of Nevada.

20. Defendants Penegor, Brolick, Hill, Levato, Mathews-Spradlin, May,
Matthew Peltz, Nelson Peltz, Rothschild, and Winkleblack are collectively referred
to as the “Individual Defendants” and/or the “Board.”

JURISDICTION AND VENUE

21. This Court has jurisdiction over this action pursuant to 28 U.S.C. §
1332(a)(3) in that Plaintiff and Defendants are citizens of different states and the
matter in controversy exceeds $75,000.00, exclusive of interests and costs, This
action is not a collusive one to confer jurisdiction on a court of the United States

which it would not otherwise have.

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22. Venue is proper in this district under 28 U.S.C. § 1401 which allows a
stockholder filing a civil action on behalf of his or her corporation to prosecute it in
any judicial district where the corporation might have sued the same defendants.
Moreover, because a substantial portion of the transactions and wrongs complained
of herein, including several of the Defendants’ primary participation in the
wrongful acts detailed herein, occurred in this district. One or more of the
Defendants either resides in or maintains executive offices in this district, and
Defendants have received substantial compensation in this district by engaging in
numerous activities and conducting business here, which had an effect in this
district.

DEFENDANTS’ FIDUCIARY DUTIES

23. By reason of their positions as officers, directors, and/or fiduciaries of
Wendy’s and because of their ability to control the business and corporate affairs
of Wendy’s and its subsidiaries, Defendants owed Wendy’s and its shareholders
fiduciary obligations of good faith, loyalty, and candor, and were and are required
to use their utmost ability to control and manage Wendy’s and its subsidiaries in a
fair, just, honest, and equitable manner. Defendants were and are required to act in
furtherance of the best interests of Wendy’s and its shareholders so as to benefit all
shareholders equally and not in furtherance of their personal interest or benefit.

Each director and officer of the Company owes to Wendy’s and its shareholders

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the fiduciary duty to exercise good faith and diligence in the administration of the
affairs of the Company and its subsidiaries and in the use and preservation of its
property and assets, and the highest obligations of fair dealing.

24. Defendants, because of their positions of control and authority as
directors and/or officers of Wendy’s, were able to and did, directly and/or
indirectly, exercise control over the wrongful acts complained of herein. Because
of their advisory, executive, managerial, and directorial positions with Wendy’s,
each of the Defendants had knowledge of material non-public information
regarding the Company.

25. To discharge their duties, the officers and directors of Wendy’s were
required to exercise reasonable and prudent supervision over the management,
policies, practices and controls of the Company and its subsidiaries. By virtue of
such duties, the officers and directors of Wendy’s were required to, among other
things:

a. Exercise good faith to ensure that the affairs of the Company and
its subsidiaries were conducted in an efficient, business-like
manner so as to make it possible to provide the highest quality
performance of their business;

b. Exercise good faith to ensure that the Company and its subsidiaries

were operated in a diligent, honest and prudent manner and

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complied with all applicable federal, foreign and state laws, rules,
regulations and requirements, and all contractual obligations,
including acting only within the scope of its legal authority;

c. When put on notice of problems with the Company’s business
practices and operations, exercise good faith in taking appropriate
action to correct the misconduct and prevent its recurrence; and

d. Inform themselves of all material information reasonably available
to them prior to making a business decision.

SUBSTANTIVE ALLEGATIONS

Factual Background

26. This action arises out of Wendy’s failure to join the FFP, which has
caused harm to the Company’s goodwill and reputation and has thereby resulted
and is likely to continue to result in impairment of Wendy’s economic performance
to the detriment of the Company and its public shareholders. Wendy’s is a globally
recognized company with more than 6,500 restaurants globally, making a
favorable reputation an important part of its business,

27. The need for the FFP emerged as a result of farm labor exploitation
and cases of slavery in Florida’s tomato fields, where farm workers were subject to

physical abuse such as pistol whippings, involuntary confinement at gunpoint,

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abductions, debt bondage, and starvation wages.* Some women complained that
crew leaders groped them or demanded sex in exchange for steady jobs.” At least
five slave camps were uncovered in Florida by the founders of the FFP, in which
workers received no pay whatsoever for their labor. Those who tried to escape
risked beatings or worse.'°

28. The FFP is an alliance among farmers, farmworkers, major restaurant
chains, and retail food companies that ensures humane wages and working
conditions for the workers who pick fruits and vegetables on participating farms."

29. By joining the FFP, food retailers agree to pay a small price premium
on the fresh market fruits and vegetables they purchase and to require their farm
suppliers to implement a human-rights-based Code of Conduct. Since January

2011, the price premium has led to nearly $20 million in additional income to

worker’s paychecks.”

8 See EN 4,

® Steven Greenhouse, Jn Florida Tomato Fields, a Penny Buys Progress, N.Y. Times, April 24,
2014, available at http://www.nytimes.com/2014/04/25/business/in-florida-tomato-fields-a-
penny-buys-progress.html?_r=3 (last accessed Jan. 5, 2017).

'° Andrew Cockburn, Trump's Tomatoes, Harper’s Magazine, March 16, 2016, available at
http://harpers.org/blog/2016/03/trumps-tomatoes/ (last accessed Jan, 5, 2017).

'' Coalition of Immokalee Workers, Campaign for Fair Food,  http://www.ciw-

online.org/campaign-for-fair-food/ (last accessed Jan. 5, 2017).
a Fair Food Standards Council, Frequently Asked Questions,
http://www. fairfoodstandards.org/resources/frequently-asked-questions/ (last accessed Jan. 5,
2017).

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30. The FFP has achieved tremendous improvements in workplace
conditions and wages for farmworkers, due in large part to the participation of
major food retailers, causing farms that produce ninety percent of Florida’s
tomatoes to increase wages for 30,000 workers and follow strict standards with
zero tolerance provisions against forced labor, violence and sexual assault, and
requirements for, inter alia, rest breaks, shade and protection against pesticide
exposure,'* Indeed, those companies which have already joined the FFP set the
tone for industry standards, with Walmart alone selling 20 percent of the nation’s
fresh tomatoes year-round."

Wendy’s has Purposefully Refused to Join the FFP and Taken Actions Designed
to Undermine the Program

31. Despite participation by competitors such as McDonalds, Burger
King, Subway, KFC, Taco Bell, Pizza Hut, Chipotle, as well as grocery stores like
Walmart, Trader Joe’s, Whole Foods, and Giant, Wendy’s has refused to join the
FFP. The Company’s refusal to join the FFP has caused its reputation and goodwill
among the public to suffer, resulting in protests and boycotts across the country.
For example, earlier this year, a protest by hundreds of individuals including Ethel

Kennedy (widow of Sen. Robert Kennedy), gathered for a march on Palm Beach

3 See FN 10
\4 See EN 9,

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Island near the vacation home of Defendant Nelson Peltz. '°

32. Wendy’s refusal to join the FFP is not economically justified. In the
fiscal quarter ending July 3, 2016, Wendy’s total expenditures on cost of sales
totaled over $200 million dollars'’—meaning it could have funded the entire FFP
since 2011 with one-tenth its cost of sales for one quarter. To put that number in
further perspective, during the same period (2011-2016), Wendy’s CEO Brolick
earned a total of $33,542,735.'’ That figure is more than it has cost to fund the
entire FFP since 2011, which has benefitted tens of thousands of workers.

33. Despite not joining the FFP, Wendy’s began to inform consumers that
it did not need to join the program because it was already buying tomatoes from
FFP growers—even though Wendy’s was not paying the price premium that went

directly to the workers, nor had it agreed to buy only from FFP-affiliated

'SAndres David Lopez, Hundreds protesting against Wendy's march through Palm Beach, Palm
Beach Daily News, March 12, 2016,
http://www.palmbeachdailynews.com/news/news/local/hundreds-protesting-against-wendys-
march-through-p/nqjrM/#sthash.dlo79OhU.dpuf ; See also Associated Press, Farmworkers
protest by home of Wendy's billionaire chairman, March 13, 2016
http://www,sandiegouniontribune.com/sdut-farmworkers-protest-by-home-of-wendys-
billionaire-2016mar13-story.html (last accessed on Jan. 5, 2017).

'© The Wendy’s Company, Form 10-Q Quarterly Report Pursuant to Section 13 or 15(d) of the
Securities Exchange Act of 1934,

https://www.sec.gov/Archives/edgar/data/30697/0000030697 16000016/twel0qq22016.htm (last
accessed Jan. 5, 2017).

'7 The Wendy’s Company, Schedule 14A (2014),
https://www.sec.gov/Archives/edgar/data/30697/0001 193 12514140701/d667552ddef1 4a,htm
(last accessed Jan, 5, 2017); The Wendy’s Company, Schedule 14A (2016),
https://www.sec.gov/Archives/edgar/data/30697/000119312516536551/d121857ddefl4a.htm#to
¢121857_62 (last accessed Jan. 5, 2017).

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growers.

34. Wendy’s has not, however, merely refused to join the FFP. Rather, it
has taken affirmative steps to undermine the Program and its participating growers.
During the 2013-14 Florida tomato season, Wendy’s informed those growers
participating in the FFP, from whom the company had been purchasing tomatoes
for years, that it would, specifically to avoid having to participate in the FFP, cease
purchasing Florida tomatoes altogether and replace those purchases with tomatoes
from Mexico, Wendy’s now does not purchase any Florida tomatoes, having
replaced those purchases with tomatoes from suppliers in Mexico, where human
rights abuses are widespread, thereby further threatening the reputation of the
company.”

35. Wendy’s turned to Mexican tomato producers such as Bioparques de
Occidente, a farm notorious for subhuman conditions, with workers forced to work
without pay, trapped for months at a time in scorpion-infested camps, often
without beds, fed on scraps, and beaten when they tried to quit. Workers caught

attempting to escape would be forced to return, but bosses would first take their

18 See EN 10
'9 See FN 10.

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shoes and dock them three days’ pay. In 2013, Bioparques de Occidente was
charged with human trafficking.”°

36. Wendy’s failure to join the FFP, its decision to source tomatoes
abroad, and the corresponding effect on the Company’s public image, have
resulted in negative consequences to Wendy’s economic performance.

37. Moreover, Wendy’s competitors that have joined the FFP have done
tremendously well in recent years, due in large part to their favorable public
images and goodwill. For example, since joining the FFP in 2005, Yum Brands’
stock has risen from approximately $23.41 to $64.42 as of January 6, 2017. In
addition, since joining the FFP in 2007, McDonald’s stock has risen from
approximately $43.89 to $120.76 as of January 6, 2017. In stark contrast, since
2005, Wendy’s stock has largely remained stagnant from approximately $12.77 to
$13.25 as of January 6, 2017.

38. By refusing to join the FFP, and by approving or failing to prevent
Wendy’s abandonment of Florida tomato suppliers in favor of riskier suppliers in
Mexico, Wendy’s Board has tacitly supported, and continues to support, the human
rights violations committed by farmers who produce their tomatoes.”' In turn, such

tacit support has led to a negative impact on the Company’s reputation, good will,

*° Richard Marosi, Desperate Workers on a Mexican Mega-Farm: ‘They Treated Us Like
Slaves,’ Los Angeles Times, available at http://graphics.latimes.com/product-of-mexico-labor/
(last accessed on Jan. 5, 2017).

*" See FN 7

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and customer confidence, and has impaired Wendy’s economic performance as a
result.

Lack of Proper Corporate Governance Oversight Has Led to Damaging
Advertising Incidents

39. Further evidence of improper corporate governance emerged on
January 4, 2017, when Wendy’s official Twitter account tweeted the image of a
white supremacist cartoon.”

40. In response to another Twitter user’s question as to whether Wendy’s
had “any memes?” *? Wendy’s responded with an image of Pepe the Frog—an
anthropomorphized amphibian used by neo-nazis and white supremacists during
the 2016 presidential election—dressed as Wendy, the official mascot for the
Company. Pepe the Frog’s popularity among white supremacists was so
pronounced and pervasive that the Anti-Defamation League named it a hate

symbol last Fall, which was widely reported by the media.”

a Wendy's Tweets, Then Deletes ‘Hate Symbol’ Meme, FOX NEWS, Jan. 4, 2017, available at
http://www.foxnews.com/food-drink/2017/01/04/wendys-tweets-then-deletes-hate-symbol-
meme.html (last accessed Jan. 5. 2017).

*3 Merriam-Webster defines “meme” as, “an amusing or interesting picture, video, etc., that is
spread widely through the Internet.” Available at https://www.merriam-
webster.com/dictionary/meme (last accessed on January 5, 2017).

4 Travis M. Andrews, Once-Comic Pepe the Frog Has Beed Declared a Hate Symbol, WASH.
POST, Sept. 28, 2016, available at https://www.washingtonpost.com/news/morning-
mix/wp/2016/09/28/once-comic-pepe-the-frog-has-been-declared-a-hate-
symbol/?utm_term=.e9213b554d50 (last accessed Jan. 5, 2017).

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41. Popular white supremacist websites are now labeling Wendy’s the
“official burger of the Neo-Nazi Alt-Right movement.” The Company is now
facing backlash and outrage from the public as a result.

42. This lack of oversight, or serious lapse of judgment, demonstrates that

the Board’s corporate governance structure is in dire need of reformation.

DERIVATIVE AND DEMAND ALLEGATIONS

43. Plaintiff brings this action derivatively in the right and for the benefit
of Wendy’s to redress the breaches of fiduciary duties by the Individual
Defendants.

44, Plaintiff will adequately and fairly represent the interests of Wendy’s
and its shareholders in enforcing and prosecuting its rights.

45. For the reasons set out below, Plaintiff believes a litigation demand
would be futile.

46. On August 17, 2016, as a result of the Board’s failure to join the FFP
as set forth above, Plaintiff, by his undersigned counsel, sent the Wendy’s Board a
books and records demand letter (the “Books and Records Demand”) in order to
investigate potential misconduct by the Board.

47. On August 30, 2016, Theodore M. Grossman, Esq. of Jones Day,
counsel for the Company, responded to Plaintiff's Books and Records Demand.

Mr. Grossman requested account or brokerage information establishing Plaintiffs

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ownership of Wendy’s stock, claiming that the unsworn letter of Plaintiffs
financial advisor attached to the Books and Records Demand was insufficient.

48. On September 2, 2016, Plaintiff's counsel sent Mr. Grossman a
redacted copy of Plaintiff's brokerage statement for the period July 1, 2016 to July
31, 2016.

49. On September 6, 2016, Mr. Grossman responded to Plaintiffs
September 2 letter, again claiming the brokerage statement was insufficient proof
of ownership and requesting a “more up-to-date” brokerage statement. Plaintiff's
counsel responded the following day with the information requested.

50. On September 13, 2016, Mr. Grossman continued this pattern of delay
by requesting a lengthy list of additional information regarding Plaintiff's
involvement in farm labor causes, including the FFP.

51. On the same day, Plaintiffs counsel sent Mr. Grossman a proposed
Agreement Governing the Production of Confidential Material. Despite the offer to
enter into a confidentiality agreement, Plaintiff has still not been granted access to
the books and records requested.

52. The above series of communications demonstrate a clear effort to
repeatedly delay in responding to Plaintiff's Books and Records Demand and
effectively deny him his right as a stockholder to inspect Wendy’s corporate books

and records.

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53. Given the Board’s failure to even allow Plaintiff access to the
documents requested in the Books and Records Demand, it is apparent that a
demand that the Board initiate action to redress the harm to Wendy’s resulting
from the Company’s failure to join the FFP would be futile. Thus, Plaintiff has
been left with no other recourse than filing this action,

COUNT 1

Against the Individual Defendants for Breach of Fiduciary Duties

54. Plaintiff repeats and re-alleges each and every preceding allegation as
if fully set forth herein,

55. The Individual Defendants owe Wendy’s and its shareholders
fiduciary obligations. By reason of their fiduciary relationship with the Company,
the Individual Defendants specifically owe Wendy’s and its shareholders the
highest degree of good faith, fair dealing, and loyalty.

56. The Individual Defendants have a fiduciary duty to ensure that the
Company is operated in a diligent, honest, and prudent manner.

57. The Individual Defendants breached their fiduciary duties by failing
to join the FFP, despite all of Wendy’s major competitors doing so (thereby
flouting industry standards) and despite pressure from the public, resulting in harm
to the Company’s goodwill and reputation, which in turn had a negative impact on

Wendy’s economic performance.

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58. Based on the foregoing, the Board was not acting in good faith toward
the Company and breached their fiduciary duties.

59. As a direct and proximate result of the Board’s conscious failure to
perform their fiduciary obligations, Wendy’s has been and will be damaged. The
Company’s reputation and corporate image in the business community, courts, and
financial markets, as well as any goodwill it may have left, have been irreparably
tarnished.

60. As a result of the misconduct alleged herein, the Individual
Defendants are liable to the Company.

61. Plaintiff, on behalf of Wendy’s, has no adequate remedy at law.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment as follows:

a, Declaring that the Individual Defendants have breached their fiduciary
duties to Wendy’s and its shareholders;

b. Declaring that Plaintiff may maintain this action on behalf of Wendy’s
and that Plaintiff is an adequate representative of the Company;

C; Determining that this action is a proper derivative action maintainable

under law and demand is excused;

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d. Determining and awarding to Wendy’s the damages sustained it as a
result of the violations set forth above from the Individual Defendants, with

interest thereon;
e. Directing Wendy’s to join the FFP;

f. Awarding to Plaintiff the costs and disbursements of the action,

including reasonable attorneys’ fees, costs, and expenses; and

g. Granting such other and further relief as this Court,deems just and

equitable.

Dated: January 9, 2017

posse Bane
POMERANTZ LLP
600 Third Avenue
New York, NY 10016

(212) 661-1100

Attorneys for Plaintiff

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VERIFICATION FOR AMENDED COMPLAINT

1, Samuel B. Trickey, under pain and penalty of perjury under the laws of the
United States, hereby verify that as a Plaintiff in this shareholder derivative action, | was
a The Wendy’s Company shareholder during all of the relevant times that the events
alleged to have taken place in this Amended Complaint occurred. Also, | continue to hold
my shares. | believe the factual allegations in the Amended Complaint are true and
correct to the best of my knowledge, information, and belief. Having received a copy of
the Amended Complaint, having reviewed it with my Counsel, | hereby authorize its
filing.

Date: January eS: 2017 Sua OS es huts
Samuel B. Trickey

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